     Case 6:22-cv-00050-ADA    Document 159-3 Filed 03/15/24      Page 1 of 5
                                   CONFIDENTIAL

 1                  UNITED STATES DISTRICT COURT
 2                    WESTERN DISTRICT OF TEXAS
 3                              WACO DIVISION
 4
 5     MIDAS GREEN TECHNOLOGIES,            )
       LLC,                                 )
 6                                          )
                       Plaintiff,           )
 7                                          )
                    vs.                     )     No.
 8                                          )     6:22-cv-00050-ADA
       RHODIUM ENTERPRISES,                 )
 9     INC., et al.,                        )
                                            )
10                     Defendant.           )
       -------------------------            )
11
12
13
14              * * * C O N F I D E N T I A L * * *
15
16
17                                  February 19, 2024
18                                  9:40 a.m.
19
20                  Deposition of JAMES H. LEE on
21          invalidity, held at the offices of K&L Gates
22          LLP, 599 Lexington Avenue, New York, New York,
23          pursuant to notice, before Laurie A. Collins,
24          a Registered Professional Reporter and Notary
25          Public of the State of New York.

                                                                      Page 1

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
 Case 6:22-cv-00050-ADA                                   Document 159-3 Filed 03/15/24                      Page 2 of 5
                                                              CONFIDENTIAL
 1     Q.       I'm asking about the entirety of your                       1 through each appliance slot and therefore the 2014
 2 definition. I focused you on the part that that I                        2 Best publication is incapable of anticipating
 3 was particularly --                                                      3 Claim 1 under 35 USC at 102.
 4          ATTORNEY THOMAS: Interested in.                                 4     Q. Okay.
 5     Q.       -- interested in.                09:48:15                   5     A. The next correction is at paragraph 274 09:50:26
 6          ATTORNEY THOMAS: You didn't read all                            6 in the third sentence.
 7     of it.                                                               7     Q. Okay.
 8     A.       It also says, Additional education can                      8     A. Currently that sentence says, It is not
 9 compensate for less particular experience and vice                       9 boiling dielectric fluid. The correct version
10 versa.                                    09:48:26                      10 should say, It is not circulating dielectric    09:50:42
11          After reviewing it, I would not modify                         11 fluid.
12 the definition, no.                                                     12     Q. Okay.
13     Q.       Okay. And, by the way, I should also                       13     A. The next correction should be an
14 just ask you: Is there anything in your report                          14 omitted paragraph immediately after paragraph 370
15 that you're aware of before we start that you             09:48:34      15 on page 121.                             09:51:02
16 would like to modify or correct?                                        16     Q. Okay.
17     A.       I do have four corrections that I would                    17     A. And the additional paragraph should
18 like to put forward --                                                  18 read, It is my opinion that there is no motivation
19     Q.       Oh, okay.                                                  19 for a POSITA to use the JP '758 patent nor the
20     A.       -- from my report.                 09:48:45                20 Attlesey '419 patent in combination with any other 09:51:28
21     Q.       All right. What is that piece of                           21 references cited by Dr. Ortega.
22 paper?                                                                  22         (Pause.)
23     A.       This is a list of the four corrections.                    23     A. And I can repeat any of that if it
24     Q.       Okay. I'd like to get a photo of it.                       24 would be helpful.
25          ATTORNEY THOMAS: We'll give it to you 09:48:56                 25     Q. I'm just writing. One moment.            09:52:26
                                                      Page 10                                                                       Page 12

 1     at a break. He'll read them into the record                          1     A. Okay.
 2     now. We'll give you a copy.                                          2         (Pause.)
 3          ATTORNEY HALPERN: That would be great.                          3     Q. Okay.
 4     Thank you.                                                           4     A. And then the fourth and last correction
 5          ATTORNEY THOMAS: Go ahead.                          09:49:04    5 that I'm currently aware of, the last sentence the 09:52:40
 6          Do you want him to read it?                                     6 words "otherwise system does not work" should be
 7          ATTORNEY HALPERN: Yes.                                          7 removed from the end of the sentence. But I want
 8     A.       At --                                                       8 to emphasize --
 9     Q.       Yes.                                                        9     Q. I don't know where you are. You didn't
10     A.       Are you ready for me to start?            09:49:11         10 say.                                09:52:56
11     Q.       I'm ready.                                                 11     A. Oh, paragraph 382. I apologize.
12     A.       Okay. It says at paragraph 258 the                         12     Q. Okay. So what's the --
13 last sentence currently says, Consequently, the                         13     A. So the words at the end of the sentence
14 2014 Best publication does not disclose a plenum                        14 "otherwise system does not work" should be removed
15 positioned adjacent to the bottom of the tank             09:49:27      15 from the end of the sentence, but the footnote      09:53:19
16 adapted to dispense the dielectric fluid                                16 should remain.
17 substantially uniformly upwardly through each                           17     Q. Okay. All right.
18 appliance slot and therefore the Best '463 patent                       18     A. And that is all the corrections I'm
19 is incapable of anticipating Claim 1 under 35 USC                       19 currently aware of.
20 paragraph 102.                                09:49:45                  20     Q. Okay. Thank you.                     09:53:29
21          Now, the corrected version should read,                        21         ATTORNEY HALPERN: So this would be Lee
22 Consequently, the 2014 Best publication does not                        22     Exhibit 2.
23 disclose a plenum positioned adjacent to the                            23         ATTORNEY THOMAS: Lee Exhibit 2, for
24 bottom of the tank adapted to dispense the                              24     the record -- for the record, Lee Exhibit 2 is
25 dielectric fluid substantially uniformly upwardly 09:50:02              25     Exhibit 1 to the report.               09:54:52
                                                             Page 11                                                                Page 13

                                                                                                                     4 (Pages 10 - 13)
                                                      Veritext Legal Solutions
                                              Calendar-CA@veritext.com 866-299-5127
 Case 6:22-cv-00050-ADA                       Document 159-3 Filed 03/15/24                           Page 3 of 5
                                                  CONFIDENTIAL
 1 automatically control inactive messaging systems           1 paragraphs 90 through 93?
 2 that were not operating properly.                          2    A. Yes.
 3     Q. Okay. For both of those sentences you               3    Q. Okay.
 4 cite to the deposition testimony of Mr. Boyd --            4        So you do not offer any opinion that
 5 correct? -- Footnotes 9 and 10?               02:45:17     5 the control facility limitation is described on 02:48:24
 6     A. Yes, that's correct.                                6 page 5 of Mr. Boyd's inventor's notebook; correct?
 7     Q. Was there information in there that                 7        I'm talking about like what you have
 8 derived also from conversations with Mr. Boyd in           8 here. In your discussion from 90 to 93,
 9 addition to his deposition testimony?                      9 paragraphs 90 to 93 -- you can include 94, which
10     A. During a conversation with Mr. Boyd, we 02:45:39 10 is kind of the ultimate opinion -- you don't offer 02:48:49
11 did talk about the inventor's notebook, page 5.           11 any opinions in paragraphs 90 to 94 that the
12 We also talked about inventor's notebook page 4,          12 control facility limitation is described on page 5
13 which does have a mention of -- I forget the exact        13 of Mr. Boyd's inventor's notebook; correct?
14 quote -- somehow water was going to be -- I think         14    A. In Section H I do not refer to page 5
15 rainwater was being recaptured for the external 02:45:59 15 of Mr. Boyd's notebook, no.                    02:49:08
16 coolers.                                                  16    Q. And the control facility limitation
17         And so I did ask him if, you know, he             17 that you quote in heading H on page 32 is part of
18 intended -- in his -- as he was conceiving of the         18 the claimed invention; right?
19 information on page 5 was he also considering a           19    A. Yes, it is.
20 secondary cooling system, and he pointed to page 02:46:21 20    Q. Okay. In light of that, do you wish to 02:49:23
21 4. He said, yes, definitely, you know, any                21 revise your opinion, which is at page 73,
22 practical cooling system would need to have a             22 paragraph 24 --
23 secondary cooling facility.                               23    A. Page 73?
24     Q. Okay. But that's the secondary cooling             24    Q. Unless I somehow screwed this up, which
25 facility. There's no -- you didn't mention --    02:46:41 25 I'm fearing that I have. Okay. Sorry. I have an 02:49:44
                                                         Page 142                                                          Page 144

 1 well, first of all, that is not cited in your                     1 incorrect reference in there -- paragraph 73, page
 2 report; right? Page 4 is not cited here, of                       2 24. Yes. Okay.
 3 Dr. -- in this section -- sorry.                                  3        Yeah, do you wish to revise your
 4         In these paragraphs discussing control                    4 opinion at page 24, paragraph 73, that page 5 of
 5 facility, you don't cite -- as you already        02:46:56        5 Mr. Boyd's inventor's notebook shows that           02:50:23
 6 testified, you don't cite any page of Mr. Boyd's                  6 Mr. Boyd, as of March 12th, 2012, had a definite
 7 inventor's notebook?                                              7 and permanent idea of the complete and operative
 8     A. Oh, sure -- of Section H?                                  8 invention as set out in the asserted claims, since
 9     Q. Yeah.                                                      9 the complete invention includes the limitation H
10     A. Okay. No, I do not.                    02:47:11           10 and you've just testified that you don't point to 02:50:50
11     Q. But you're referencing that Mr. Boyd                      11 any support on page 5 for that limitation?
12 told you in conversation that he had in mind --                  12    A. Can you repeat your question?
13 well, I'm asking about a control facility. Are                   13    Q. Sure. Do you wish to revise your
14 you telling me he had in mind -- he told you in                  14 opinion at page 24, paragraph 73, that page 5 of
15 conversation, in addition to the testimony you        02:47:33   15 Mr. Boyd's inventor's notebook shows that           02:51:13
16 cite here, at the time he had a control facility                 16 Mr. Boyd, as of March 12th, 2012, had a definite
17 in mind?                                                         17 and permanent idea of the complete and operative
18     A. Yes, I believe in deposition he said it                   18 invention as set out in the asserted claims?
19 would be something along the lines of any system                 19    A. No.
20 would require a control system.                  02:47:48        20    Q. Okay. And so where does page 5 of the 02:51:28
21     Q. Okay. I'm just trying to establish                        21 inventor's notes talk about the control facility?
22 what you're relying on here. So you're relying on                22    A. I would say in Note 3, which is U tubes
23 his deposition testimony, and are you also relying               23 drain into a closed sump container for
24 on conversations you had with him for your                       24 recirculation through heat exchanger. Note that
25 opinions in Section H about limitation H,            02:47:59    25 the pump cannot drain the tank.                 02:53:02
                                                         Page 143                                                          Page 145

                                                                                                        37 (Pages 142 - 145)
                                            Veritext Legal Solutions
                                    Calendar-CA@veritext.com 866-299-5127
 Case 6:22-cv-00050-ADA                    Document 159-3 Filed 03/15/24                          Page 4 of 5
                                               CONFIDENTIAL
 1         I think this combined with the                         1 the control facility limitation.
 2 deposition and conversations with Mr. Boyd clearly             2     A. And you were asking specifically about
 3 shows that a control facility was in his mind when             3 Section H. Am I not correct?
 4 he conceived of the concept of the -- what became              4     Q. Yeah, the control facility limitation.
 5 the '457 patent.                         02:53:28              5     A. In Section H I did not refer to it,      02:56:11
 6    Q. So you did not cite this in this                         6 which was your question. So I answered your
 7 discussion on page 5 -- correct? -- as I think you             7 question as stated I believe correctly. If I --
 8 already testified?                                             8 if I did not, I will amend my answer.
 9         ATTORNEY THOMAS: I just want to                        9     Q. Okay. I asked you does this section
10    object. It's at page 25 -- he just read from 02:53:41      10 identify all the facts and evidence you considered 02:56:55
11    page 25 of his report.                                     11 and relied on in forming that opinion, the opinion
12         ATTORNEY HALPERN: Yeah. No, I know.                   12 that Mr. Boyd had conceived of the control
13    But I asked him earlier if he had identified               13 facility limitation as of March 14th, 2012.
14    in his discussion of the control facility                  14         I said does this section identify all
15    limitation anything supporting that as        02:54:00     15 the facts and evidence you considered and relied 02:57:15
16    disclosed on page 5, and he acknowledged that              16 on in forming that opinion that the patent is
17    he had not cited page 5 and that all the                   17 entitled to a priority date of March 14th, 2012.
18    materials that he was relying on were in that              18 And, I'm sorry, and then...
19    section.                                                   19         (Pause.)
20         So now I've asked, well, what on page 5 02:54:12      20     Q. I said, So you do not offer any opinion 02:58:01
21    supports that limitation.                                  21 that the control facility limitation as described
22    Q. And you're pointing to this paragraph.                  22 on page 5 of Mr. Boyd's inventor's notebook. And
23 So the assertion that page 5 discloses the control            23 then it says correct. I think that was an answer,
24 facility limitation is a new opinion that you're              24 but it's not showing as an answer on the real-
25 offering?                              02:54:38               25 time, and then -- but I could be wrong. Just from 02:58:17
                                                      Page 146                                                        Page 148

 1         ATTORNEY THOMAS: Objection,                          1 the rhythm of it. Maybe I'm wrong. Okay.
 2     mischaracterizes his report.                             2         Then I asked, In your discussion from
 3         ATTORNEY HALPERN: I'm asking.                        3 90 to 93, paragraphs 90 to 93, you don't offer any
 4     A. If I recall correctly -- and if I'm                   4 opinions in paragraphs 90 to 94 that the control
 5 wrong, please point it out -- what you asked was 02:54:49 5 facility limitation is described on page 5 of        02:58:36
 6 in Section H, which is a control facility adapted            6 Mr. Boyd's inventor's notebook; correct? And you
 7 to coordinate the operation of the primary and               7 answered, In Section H I do not refer to page 5 of
 8 secondary fluid circulation facility as a function           8 Mr. Boyd's notebook, no.
 9 of the temperature of the dielectric fluid in the            9    A. Which is a true statement.
10 tank, did I refer to page 5. And the answer to 02:55:04     10    Q. Okay.                            02:58:48
11 that is yes.                                                11    A. If you look at all these different
12         Did I never respond or never cite page              12 paragraphs in Section H, there is no mention of
13 5 as being considered for my opinion? The answer            13 page 5.
14 to that would be yes, I did consider it, just not           14    Q. Okay.
15 in Section 8 -- H.                        02:55:24          15    A. I believe it isn't a stretch -- and let 02:58:55
16         So I think it's a stretch to say                    16 me just be very clear -- I did refer to page 5
17 because it's not in Section H I didn't consider             17 when making my opinion that there was a control
18 it.                                                         18 facility included.
19     Q. I didn't ask if you considered it; I                 19    Q. Where did you refer to page 5 in
20 asked if you cited it or relied on it --       02:55:36     20 support of that opinion?                    02:59:08
21     A. In Section H.                                        21    A. It is right here on page 25. As I
22     Q. Yes, as support. I asked you if you                  22 said, in note 3.
23 cited or relied on page 5 of the inventor notes as          23    Q. Page 25 is just (indicating).
24 support for a disclosure as of -- or of -- sorry,           24    A. It's a reproduction --
25 a support for invention as of March 14th, 2012, of 02:55:56 25    Q. Right.                           02:59:25
                                                      Page 147                                                        Page 149

                                                                                                    38 (Pages 146 - 149)
                                           Veritext Legal Solutions
                                   Calendar-CA@veritext.com 866-299-5127
 Case 6:22-cv-00050-ADA                               Document 159-3 Filed 03/15/24                  Page 5 of 5
                                                          CONFIDENTIAL
 1    Q.    And why is it that you want to make                         1           CERTIFICATE
 2 this clarification or correction to your report?                     2 STATE OF NEW YORK )
 3    A.    I think this more correctly expresses                       3               : ss.
 4 the material considered in Section H.                                4 COUNTY OF NEW YORK )
 5         ATTORNEY THOMAS: Okay. I have no               07:06:29      5
 6    further questions.                                                6        I, LAURIE A. COLLINS, a Registered
 7         ATTORNEY HALPERN: Okay. And not going                        7   Professional Reporter and Notary Public
 8    to ask a question about this, but I'm just
                                                                        8   within and for the State of New York, do
 9    going to move to strike this. Obviously we
                                                                        9   hereby certify:
                                                                       10        That JAMES H. LEE, the witness whose
10    have to follow this up with a written motion 07:06:37
                                                                       11   deposition is hereinbefore set forth, was
11    as an untimely opinion that goes outside the
                                                                       12   duly sworn by me and that such deposition
12    scope of his report. I asked him questions
                                                                       13   is a true record of the testimony given by
13    about it. He testified about it. You know,
                                                                       14   the witness.
14    that's part of the normal process. But this
                                                                       15        I further certify that I am not
15    is not. So move to strike.              07:06:48
                                                                       16   related to any of the parties to this
16         ATTORNEY THOMAS: Okay. Motion denied.                       17   action by blood or marriage and that I am
17    Okay. We're done.                                                18   in no way interested in the outcome of this
18         (Continued on following page.)                              19   matter.
19                                                                     20        IN WITNESS WHEREOF, I have hereunto
20                                                                     21   set my hand this 21st day of February 2024.
21                                                                     22
22                                                                     23
23                                                                                    <%4878,Signature%>
24                                                                     24             LAURIE A. COLLINS, RPR
25                                                                     25
                                                            Page 286                                                    Page 288

 1        THE VIDEOGRAPHER: We're going off the                         1 ----------INDEX----------
 2    record at 7:07 p.m. This concludes today's                        2
 3    testimony given by Dr. James Lee. The total                       3 WITNESS:              EXAMINATION BY:              PAGE
 4    number of media units used was eight and will                     4 James H. Lee         Attorney Halpern          5
 5    be retained by Veritext Legal Solutions.   07:07:10               5
 6    Thank you. We're off the record.                                  6 -------------------- EXHIBITS --------------------
 7        (Time noted: 7:07 p.m.)                                       7 LEE NO.              DESCRIPTION           PAGE
 8               ____________________                                   8
 9               JAMES H. LEE                                           9 Exhibit 1, expert report of Lee         8
10                                                                     10 Exhibit 2, Exhibit 1 to expert report 14
11 Subscribed and sworn to before me                                   11 of Lee
12 this ___ day of __________ 2024.                                    12 Exhibit 3, Exhibits 3 and 4 to expert 57
13                                                                     13 report of Lee
14 _________________________________                                   14 Exhibit 4, excerpted deposition          73
15                                                                     15 transcript of Sickmiller
16                                                                     16 Exhibit 5, press release             93
17                                                                     17 Exhibit 6, excerpted deposition          116
18                                                                     18 transcript of Boyd
19                                                                     19 Exhibit 7, pages 217 to 222 from           118
20                                                                     20 deposition transcript of Boyd
21                                                                     21 Exhibit 8, Exhibit 8 to deposition of 137
22                                                                     22 Boyd
23                                                                     23 Exhibit 9, errata to deposition         168
24                                                                     24 transcript of Boyd
25                                                                     25 Exhibit 10, pages 164 and 165 of           169
                                                            Page 287                                                    Page 289

                                                                                                       73 (Pages 286 - 289)
                                                 Veritext Legal Solutions
                                         Calendar-CA@veritext.com 866-299-5127
